|Matt BernalAppellant    |[pic]                   |The State of            |
|                        |                        |TexasAppellee           |


                           Fourth Court of Appeals
                             San Antonio, Texas

                              December 9, 2013

 No. 04-13-00669-CR, 04-13-00670-CR, 04-13-00671-CR, 04-13-00672-CR, 04-13-
00673-CR, 04-13-00674-CR, 04-13-00675-CR, 04-13-0676-CR, 04-13-00677-CR, 04-
                       13-00678-CR, and 04-13-00679-CR

                                Matt BERNAL,
                                  Appellant

                                     v.

                             The STATE of Texas,
                                  Appellee

         From the 226th Judicial District Court, Bexar County, Texas
 Trial Court No. 2012CR9915, 2012CR9914, 2012CR9913, 2012CR9907, 2012CR9908,
   2012CR9909, 2012CR9910, 2012CR9911, 2012CR9912, 2012CR9905, 2012CR9906
                   Honorable Sid L. Harle, Judge Presiding


                                    ORDER


Sitting:         Karen Angelini, Justice
            Sandee Bryan Marion, Justice
            Marialyn Barnard, Justice

      The Court issued an opinion dismissing these appeals  on  December  4,
2013. Appellant's motion to extend the time  to  file  amended  trial  court
certifications is therefore DENIED AS MOOT.

      It is so ORDERED on December 9, 2013.

                                        per curiam




ATTESTED TO: _____________________
                            Keith E. Hottle, Clerk





